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                       Case 24-33522 Document 16 Filed in TXSB on 09/04/24 Page 1 of 1



                                         IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE SOUTHERN DISTRICT OF TEXAS

        IN RE:                                               §
                                                             §
        Equillia Erma Dennis                                 §               Case No. 24-33522
                                                             §
                                   Debtor(s)                 §               ff 6
                                                                             Chapter 7

                                  DECLARATION FOR ELECTRONIC FILING OF
                           BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

       PART I: DECLARATION OF PETITIONER:

                As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
       partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on
       behalf of, the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be
       filed electronically in this case. I have read the information provided in the petition and in the lists of creditors to
       be filed electronically in this case and I hereby declare under penalty of perjury that the information provided
       therein, as well as the social security information disclosed in this document, is true and correct. I understand that
       this Declaration is to be filed with the Bankruptcy Court within five (5) business days after the petition and lists of
       creditors have been filed electronically. I understand that a failure to file the signed original of this Declaration
       will result in the dismissal of my case.

       x
       __        [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] –
                 I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
                 am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
                 relief available under each chapter, and choose to proceed under chapter 7.

       __        [Only include if petitioner is a corporation, partnership or limited liability company] –
                 I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
                 creditors on behalf of the debtor in this case.
             8/2/2024
       Date:                   .
                                          Equillia Erma Dennis, Debtor                XXXXXXXXX, Joint Debtor
                                          Soc. Sec. No.      -1959                    Soc. Sec. No. XXX-XX-XXXX

       PART II: DECLARATION OF ATTORNEY:

                I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by
       Part I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an
       individual with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11,
       United States Code, and have explained the relief available under each such chapter.

               8/2/2024
       Date:                   .

                                                                    Alan D Borden, Attorney for Debtor
